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                               EXHIBIT X


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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U.S. Department of Justice
Office of Justice Programs
Bureau of Justice Statistics

NOVEMBER 2012
                                                 Special Report                                                                              NCJ 239243



    Pretrial Release and Misconduct
 in Federal District Courts, 2008-2010
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D
         uring fiscal years 2008 through 2010, 36% of                Figure 1
         the 283,358 defendants in cases disposed in                 Defendants released pretrial for cases disposed in federal
         federal district courts were released prior to case         district courts, by offense type, FY 2008–2010
adjudication. The percentages of pretrial release ranged             Most serious offense
from 12% for defendants brought into federal courts for
immigration violations to 71% for defendants charged with             All offenses                           36%
property offenses (figure 1). Nineteen percent of released
defendants committed some form of pretrial misconduct,                  Property                                                           71%
and technical violations accounted for 90% of these pretrial
violations.                                                          Public-order                                                    65%
Data for the Bureau of Justice Statistics’ (BJS) Federal
Justice Statistics Program (FJSP) were provided by the                      Drug                              38%
Administrative Office of the U.S. Courts’ (AOUSC) Office of
Probation and Pretrial Services Automated Case Tracking                 Weapons                         32%
System (PACTS). The PACTS data cover various aspects
of pretrial release in federal district courts, including the             Violent                      30%
decision to release or detain a defendant, the different
mechanisms of release or detention, and the behavior                 Immigration         12%
of defendants while on pretrial release. The PACTS data
analyzed for this report include defendants whose cases were                         0            20               40                60                   80
disposed by the federal courts for the combined fiscal years                                                  Percent released
of 2008 to 2010.                                                     Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
                                                                     Services Automated Case Tracking System, 2008–2010.



                                                            HIGHLIGHTS
   Thirty-six percent of defendants in cases disposed in federal    Of defendants released pretrial, 79% were released with
    courts from 2008 to 2010 were released pretrial.                    conditions, including travel restrictions, substance abuse
   Federal courts released 10% of noncitizen defendants
                                                                        treatment requirements, weapons restrictions, or promises
    identified as illegal aliens, compared to 43% of legal aliens       to remain employed or seek employment.
    and 55% of U.S. citizens.                                         About half (51%) of defendants with no prior arrest history

   Twenty-four percent of these defendants were released at
                                                                        were released pretrial, compared to 34% of defendants with
    the time of their initial appearance, while another 12% were        2 to 4 prior arrests and 21% of defendants with more than
    detained and then released at subsequent court events,              10 prior arrests.
    including detention or bond hearings.                             Nineteen percent of defendants released pretrial committed

   Nonfinancial methods, including release on personal
                                                                        some form of pretrial misconduct.
    recognizance or unsecured bond, accounted for 73% of              Technical violations were committed by 17% of defendants
    pretrial releases in federal courts.                                released prior to case disposition, while 1% of released
   Ninety-one percent of detained defendants were held on
                                                                        defendants failed to make court appearances and 4% were
    either court-ordered detention or because they could not            rearrested for new offenses.
    meet certain conditions set by the court.




                                                                                                                                          BJS
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The PACTS data provide important information about                     misconduct in state courts, BJS has sponsored the State Court
pretrial release and misconduct in the nation’s federal courts.        Processing Statistics (SCPS) project, which examines pretrial
These data do not cover pretrial release in state courts. In           release and misconduct for felony cases filed in the nation’s
an effort to provide comprehensive information on pretrial             75 most populous counties. Therefore, the SCPS data are
release, this report compares several aspects of the pretrial          referenced in this report when comparing state and federal
process in federal and in state courts. While no statistical           pretrial statistics. (See Methodology for more information
series have national level estimates of pretrial release and           about the SCPS.)


  Pretrial release and detention in the federal criminal justice system
  Before 1966, the federal courts relied almost exclusively            The Bail Reform Act of 1984 (18 U.S.C. Section 3141)
  on financial bond. In a bond system, persons accused of              further codified the pretrial release process. According
  criminal conduct can remain free pending case disposition            to the act, when defendants first appear before a judicial
  by posting a bond, usually property or money, as a                   officer they may be 1) released on personal recognizance
  guarantee that they will make all court appearances. In              or unsecured bond, 2) released subject to conditions
  most situations, defendants will post a percentage of the            imposed by the court, 3) temporarily detained to permit
  bond set with a bail bondsman or with the court through              deportation, exclusion, or the revocation of previously
  a deposit bond program. Congress enacted the Bail                    granted conditional release, or 4) detained pending the
  Reform Act of 1966 to reform federal pretrial practices and          outcome of a detention hearing. At a detention hearing,
  minimizing the use of financial bond. The act mandated               the government is required by the act to prove by clear
  that any defendant charged with noncapital offenses in               and convincing evidence that no condition of release
  federal courts be released on either their own recognizance          would reasonably ensure that the defendant would appear
  or an unsecured appearance bond (see Methodology).                   for trial and not pose a risk to the community. The Bail
  In cases that required additional supervision, the court             Reform Act of 1984 also expanded the scope of factors
  could impose other conditions necessary to assure that a             that federal courts could consider when making pretrial
  defendant made all court appearances.                                release decisions to include the degree of dangerousness a
                                                                       defendant poses to the community.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                               2
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Defendants charged with property or public-order
                                                                       Table 1
offenses were more than 5 times more likely to be                      Defendants released pretrial for cases disposed in federal
released pretrial than immigration defendants                          district courts, by offense type and stage of appearance,
For the combined fiscal years of 2008 through 2010,                    FY 2008–2010
36% of defendants whose cases were disposed in federal                                                                    Percent of defendants
                                                                                                                          released at—
courts were released pretrial (table 1).The percentages of
                                                                       Most serious                  Number of Percent Initial        Subsequent
defendants released pretrial varied across the major federal           offense charged               defendants released appearancea hearingsb
offense categories. Seventy-one percent of property and                  All offenses                 283,358       36%       24%          12%
65% of public-order defendants were released prior to                  Violent                           8,979      30%       13%          16%
case adjudication, while less than two-fifths of defendants            Property                         44,305      71%       59%          12%
charged with drug offenses (38%) and about a third charged               Fraudulent                     36,618      69        58           12
with weapons (32%) or violent offenses (30%) received a                  Other                           7,687      78        66           11
pretrial release. Of all the major federal offense categories,         Drug                             84,436      38%       18%          20%
immigration defendants had the lowest likelihood of being                Trafficking                    71,904      37        17           20
                                                                         Other                          12,532      42        24           17
released pretrial (12%). The low rate of pretrial release for
                                                                       Public-order                     23,014      65%       53%          13%
immigration defendants was due to 91% of these defendants                Regulatory                      3,786      74        60           14
being illegal aliens, which the federal courts typically do not          Other                          19,228      64        51           13
release (not shown in table).                                          Weapons                          22,325      32%       17%          15%
                                                                       Immigration                      97,635      12%        7%           5%
                                                                       Note: Released defendants include defendants who were never detained and
More than half of violent and drug defendants                          those who were also detained for part of the pretrial period. Detail may not sum
released pretrial were initially detained and then                     to total due to missing information for offense type, which was available for
released at subsequent proceedings                                     99.1% of defendants.
                                                                       aIncludes the first hearing that an accused defendant receives in federal court.

The initial appearance represents the first time that a                bIncludes detention hearings, bond hearings, or releases that occurred at any

defendant charged with a federal offense appears before a              time after initial appearance.
federal judicial officer, typically a magistrate judge. During         Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
                                                                       Services Automated Case Tracking System, 2008–2010.
the initial appearance, the defendant can either be released
pretrial or detained for additional hearings. For those
defendants not released at the initial appearance, pretrial            and 13% were released at initial appearance. Among
release can occur at subsequent events, including detention            defendants charged with a drug offense, 20% were released
or bond hearings, or the defendant can be held for the                 after being detained and 18% were released at initial
duration of the entire case. For fiscal years 2008 through             appearance. In comparison, defendants charged with
2010, 24% of defendants were released at the time of their             property or public-order offenses were at least four times
initial appearance, while 12% were detained and then                   more likely to be released at the initial appearance than
released at subsequent hearings.                                       they were to be detained and then subsequently released.
                                                                       Of property defendants released pretrial, 59% were released
Defendants charged with violent and drug offenses were
                                                                       at the initial appearance, while 12% were first detained
more likely to be released after a period of detention
                                                                       and then released. A similar pattern held for public-order
than released at their initial appearance. Among violent
                                                                       defendants, with 53% being released at initial appearance
defendants, 16% were released after a period of detention
                                                                       and 13% being released after a period of detention.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                   3
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  58% of defendants were released pretrial in state courts in the 75 most populous
  counties, compared to 36% in federal courts
  State data on pretrial release differ in important ways from                          Compared to federal courts, the percentage of defendants
  federal data. Unlike federal data, which represents the                               charged with violent or property offenses was also higher
  entire universe of cases disposed in federal courts, data on                          in state courts in large counties. Violent (23%) and property
  pretrial release at the state level are derived from a sample of                      offenses (29%) comprised about half of felony defendants in
  defendants charged with a felony offense in May 2006 in 40 of                         the 75 most populous counties. In comparison, violent (3%) or
  the nation’s 75 most populous counties. (See Methodology.)                            property (16%) offenses comprised slightly less than a fifth of
                                                                                        defendants in federal district courts.
  In addition, cases filed in federal and state courts in large
  counties differed in composition. Immigration constituted                             Regardless of the differences between state and federal
  a major offense category in the federal system, with 35% of                           courts, it is informative to compare federal and state data on
  federal defendants charged with immigration violations                                pretrial release. Federal courts released a higher percentage
  (table 2). Although illegal aliens can be brought into state                          of defendants charged with property offenses (71%) than
  courts on other offense charges, only federal courts have the                         state courts in large counties (59%). Defendants charged with
  authority to adjudicate offenses involving the enforcement of                         public-order offenses had the same percentage of pretrial
  the nation’s immigration laws. Therefore, immigration offenses                        release (65%) in both state and federal courts. However, a
  are not a case type reported at the state level.                                      higher percentage of state defendants in large counties were
                                                                                        released pretrial when charged with drugs (60%), weapons
                                                                                        (56%), and violent (52%) offenses, compared to federal pretrial
                                                                                        release percentages for drugs (38%), weapons (32%), and
                                                                                        violent (30%) offenses.


  Table 2
  Defendants released pretrial for cases in federal courts and in state courts in the 75 most populous counties, by most
  serious offense charged
                                                                                                                                       Percent of defendants
                                               Federal defendants, 2008–2010a                State defendants, 2006b                   released pretrial
  Most serious offense charged                   Number             Percent                 Number            Percent                 Federal            State
       All offenses                              280,694             100%                   58,100              100%                    36%               58%
  Violent                                          8,979               3%                   13,295               23%                    30%               52%
  Property                                        44,305              16                    16,948               29                     71                59
  Drug                                            84,436              30                    21,232               37                     38                60
  Public-order                                    23,014               8                     4,667                8                     65                65
  Weapons                                         22,325               8                     1,958                3                     32                56
  Immigration                                     97,635              35                         ~                ~                     12                 ~
  Note: Excludes 2,664 federal defendants with unknown offense charges.
  aIncludes all felony and misdemeanor defendants with known offense types whose cases were disposed in federal district courts from fiscal years 2008 to 2010.
  bIncludes a sample of defendants charged with a felony offense in 40 of the nation’s 75 most populous counties in May 2006.

  ~Not applicable for state court data.
  Sources: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010; Bureau of Justice Statistics,
  Felony Defendants in Large Urban Counties, 2006, NCJ 228944, May 2010.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                     4
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Nearly three-quarters of federal defendants released
                                                                                       Figure 2
pretrial paid no financial bond upon release
                                                                                       Types of pretrial release for cases disposed in federal district
From 2008 to 2010, 27% of defendants released pretrial                                 courts, FY 2008–2010
for cases disposed in federal courts were required to pay a                            Type of pretrial release
financial bond in order to secure that release (table 3). All
other releases were through nonfinancial methods, including                            Unsecured bond                                                              39%
unsecured bond (39%) or personal recognizance (32%).
The use of financial bond varied by offense type, with about                                  Personal                                                 32%
two-thirds of released immigration (66%) and over a quarter                               recognizance
(29%) of released drug defendants required to post a financial
bond to receive pretrial release. In comparison, less than 20%                            Deposit bond                  12%
of released defendants charged with property (18%), weapons
(17%), public-order (14%), or violent (12%) offenses were
required to pay a financial bond.                                                          Surety bond             8%


8% of all defendants released pretrial in federal courts                                Collateral bond           7%
used bail bondsmen
The two most common forms of pretrial release in the                                      Other release 2%
federal system were unsecured bond and release on personal
recognizance, which together accounted for 71% of defendants                                              0             10               20            30                40
released pretrial in the federal courts (figure 2). Defendants                                                            Percent of released defendants
requiring a financial bond accounted for 27% of all pretrial                           Note: Includes defendants who were never detained and those who were also
releases, with 12% posting a deposit bond, 8% using a surety                           detained for part of the pretrial period.
bond (i.e., bail bondsman), and 7% using a collateral bond.                            Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
                                                                                       Services Automated Case Tracking System, 2008–2010.
In comparison, more than half (55%) of defendants released
pretrial in the nation’s 75 most populous counties in 2006 were
required to post some form of financial bond as part of their
release conditions. Defendants released pretrial in these state
courts were about five times more likely than those in federal
courts to use the services of a commercial bond agent to secure
pretrial release (not shown in table). (For more information on
state-level data, see Methodology.)

Table 3
Types of pretrial release for cases disposed in federal district courts, by offense type, FY 2008–2010
                                                                                                              Percent released on—
Most serious offense charged          Number of released defendantsa           Financial bondb       Unsecured bond       Personal recognizance          Other release
  All offenses                                   101,608                              27%                  39%                     32%                          2%
Violent                                             2,668                             12%                  34%                     53%                          2%
Property                                          31,329                              18%                  47%                     34%                          1%
  Fraudulent                                      25,375                              21                   48                      31                           1
  Other                                             5,954                              7                   40                      50                           3
Drug                                              31,881                              29%                  41%                     30%                          1%
  Trafficking                                     26,677                              29                   42                      28                           1
  Other                                             5,204                             24                   35                      39                           3
Public-order                                      15,057                              14%                  39%                     45%                          3%
  Regulatory                                        2,818                             19                   43                      36                           1
  Other                                           12,239                              12                   38                      47                           3
Weapons                                             7,127                             17%                  46%                     36%                          1%
Immigration                                       11,935                              66%                  16%                     10%                          8%
Note: Detail may not sum to total due to missing information for offense type. Information on offense type available for 98.4% of released defendants. Excludes 14
defendants for whom type of release could not be determined.
aIncludes defendants who were never detained and those who were also detained for part of the pretrial period.
bIncludes defendants released through deposit, collateral, or surety bond.

Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                       5
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About half of federal defendants released on financial                                 9% of detained defendants were held because they
bond were detained at the initial appearance and then                                  could not meet the financial bond
subsequently released
                                                                                       Ninety-one percent of detained defendants in the federal
Among federal defendants released through financial                                    courts were held either by order of the court (57%) or for
bond from 2008 to 2010, 53% were released at the initial                               other nonfinancial reasons (34%) (table 4). Court-ordered
appearance hearing, while 47% were detained and then                                   detentions involve cases in which the court mandates that a
released at subsequent hearings (figure 3). In comparison,                             defendant be held for the entire duration of the case. Other
72% of defendants released through nonfinancial methods,                               detentions typically involve instances in which the defendant
including unsecured bond or personal recognizance, were                                remains detained because the defendant was unable to meet
released at the initial appearance.                                                    certain conditions set by the court. Defendants detained
                                                                                       because they could not meet the monetary bond set by
Figure 3                                                                               the court accounted for 9% of federal pretrial detentions.
Defendants released at initial appearance and released after                           In comparison, 86% of defendants detained pretrial in
period of detention for cases disposed in federal district                             the nation’s 75 most populous counties in 2006 were held
courts, by type of pretrial release, FY 2008–2010                                      because they could not make the financial bond set by the
                                                                                       court (not shown in table).
         Type of              Released at                      Released after
pretrial release              initial appearance               period of detention
    All releases          66%                                         34%              Table 4
                                                                                       Type of pretrial detention for cases disposed in federal
      Personal                                                                         district courts, by offense type, FY 2008–2010
  recognizance            72%                                         28%
                                                                                                            Number of                Percent detained on—
     Unsecured                                                                         Most serious         detained        Financial Court-ordered Other
         bond             72%                                         28%              offense charged      defendantsa     bond       detention       detentionb
                                                                                          All offenses         180,309          9%          57%            34%
    Financial                                                                          Violent                    6,258         2%          65%            33%
  Any financial           53%                                         47%              Property                 12,582          7%          60%            33%
        release
                                                                                          Fraudulent            11,061          8           60             32
   Surety bond            58%                                         42%                 Other                   1,521         2           62             36
                                                                                       Drug                     52,302          4%          70%            26%
                                                                                          Trafficking           45,085          4           71             25
  Deposit bond            56%                                         44%
                                                                                          Other                   7,217         4           62             34
                                                                                       Public-order               7,667         3%          60%            37%
Collateral bond           40%                                         60%                 Regulatory                925         6           57             37
                   0        20           40           60            80           100      Other                   6,742         2           60             37
                                                                                       Weapons                  15,115          2%          66%            32%
                                 Percent of released defendants
                                                                                       Immigration              85,453         14%          47%            39%
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial     Note: Detail may not sum to total due to missing information for offense type.
Services Automated Case Tracking System, 2008–2010.                                    Information on offense type available for 99.5% of detained defendants. Excludes
                                                                                       1,427 defendants who were not released but whose type of detention could not
                                                                                       be determined.
                                                                                       aIncludes defendants who were detained for the entire pretrial period.
                                                                                       bIncludes defendants on temporary pretrial detention and defendants detained
                                                                                       because they were unable to meet certain nonfinancial conditions set by the
                                                                                       court.
                                                                                       Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
                                                                                       Services Automated Case Tracking System, 2008–2010.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                  6
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Approximately 8 out of 10 released defendants were
                                                                       Table 5
released with pretrial conditions                                      Pretrial conditions imposed on defendants released for cases
The Bail Reform Act of 1984 allows federal courts to impose            disposed in federal district courts, by offense type,
conditions of release on defendants released pretrial, which           FY 2008–2010
are administered by a pretrial services agency (see text box           Most serious offense         Number of released Percent of defendants
                                                                       charged                      defendants*        with conditional release
below). From 2008 to 2010, federal courts attached conditions
                                                                          All offenses                   101,622                    79%
to 79% of defendants released prior to case disposition                Violent                             2,668                    90%
(table 5). The federal courts mandated conditional release             Property                           31,332                    80%
for 90% or more of released violent, drug, and weapons                    Fraudulent                      25,378                    82
defendants and imposed conditions on about 80% of released                Other                            5,954                    76
defendants charged with property or public-order offenses. Of          Drug                               31,887                    91%
released defendants charged with immigration violations, 37%              Trafficking                     26,683                    92
received release conditions.                                              Other                            5,204                    86
                                                                       Public-order                       15,058                    79%
                                                                          Regulatory                       2,818                    78
                                                                          Other                           12,240                    79
                                                                       Weapons                             7,127                    95%
                                                                       Immigration                        11,939                    37%
                                                                       Note: Detail may not sum to total due to missing information for offense type.
                                                                       Information on offense type available for 98.4% of released defendants.
                                                                       *Includes defendants who were never detained and those who were also
                                                                       detained for part of the pretrial period.
                                                                       Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
                                                                       Services Automated Case Tracking System, 2008–2010.



  Administering Federal Pretrial Services
  The Federal Pretrial Services Act of 1982 established                their custody. Pretrial investigation involves examining
  pretrial services programs for defendants prosecuted in              the defendant’s background to determine whether to
  federal district courts (18 U.S.C. Section 3152-3155). As            recommend that the court release or detain the defendant.
  of 2010, more than 22 of the 93 federal judicial districts           Defendants under pretrial supervision are typically
  have separate pretrial service offices headed by a chief             required to report to a pretrial service officer on a regular
  pretrial services officer, while the remaining federal judicial      basis or reside in a community treatment facility or halfway
  districts use federal probation officers to administer pretrial      house. Pretrial service officers can also be involved in
  services.                                                            providing employment, medical, legal, or social services to
  The primary duties of federal pretrial service officers              supervised defendants.
  include conducting investigations of persons charged with
                                                                       Source: Cadigan, T.P. (2007). Pretrial services in the federal system:
  federal offenses and supervising defendants released into            impact of the Pretrial Services Act of 1982, Federal Probation, 71(2),
                                                                       pp 10–15.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                       7
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Among federal defendants released with pretrial conditions                             Among all other offense types, the percentage with weapons
from 2008 to 2010, 99% had a travel restriction, while 72%                             restrictions did not exceed 75%.
were required to receive substance abuse treatment,
62% had a weapons restriction, and 49% promised to remain                              Among felony defendants released pretrial in the nation’s
employed or seek employment during the pretrial period                                 75 most populous counties in 2006, 12% were released with
(table 6). The types of conditions imposed were often                                  pretrial conditions, including participation in a pretrial
related to a defendant’s arrest charges. For example, released                         diversionary program or drug monitoring or treatment.
defendants charged with drug offenses were more likely to                              In some jurisdictions, defendants released through surety
receive mandated substance abuse treatment (89%) than                                  bond also had pretrial conditions attached to the release.
released defendants charged with public-order (59%) or                                 An estimated 6% of felony defendants released through a
property (56%) offenses. A similar pattern held for weapons                            surety bond in large urban counties in 2006 had conditions
defendants released with pretrial conditions. Eighty-seven                             attached to the release, including pretrial monitoring (not
percent of these defendants had a weapons restriction.                                 shown in table).


Table 6
Types of pretrial conditions imposed on defendants released for cases disposed in federal district courts, by type of offense,
FY 2008–2010
                                                                                   Conditions imposed on defendants with conditional release
                             Number of defendants              Travel       Substance abuse      Weapon       Employment Home detention/         No contact
Most serious offense charged with conditional release*         restrictions testing or treatment restrictions restrictions electronic monitoring with victim
  All offenses                         80,302                       99%               72%              62%           49%              32%             29%
Violent                                  2,402                      98%               78%              70%           46%              40%             53%
Property                               25,203                       99%               56%              50%           44%              24%             24%
  Fraudulent                           20,680                       99                54               50            44               25              25
  Other                                  4,523                      99                63               51            43               20              22
Drug                                   28,966                       99%               89%              70%           54%              36%             31%
  Trafficking                          24,490                       99                89               72            55               37              32
  Other                                  4,476                      99                92               59            48               36              28
Public-order                           11,851                       99%               59%              53%           39%              37%             26%
  Regulatory                             2,199                      99                54               50            41               25              24
  Other                                  9,652                      99                60               54            38               40              27
Weapons                                  6,740                      99%               88%              87%           54%              37%             25%
Immigration                              4,384                     100%               61%              70%           66%              25%             37%
Note: Excludes released defendants without pretrial conditions. Detail may not sum to total due to missing information for offense type.
*Includes defendants who were never detained and those who were also detained for part of the pretrial period.
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.



   Length of pretrial detention                                                        Table 7
                                                                                       Average length of stay in detention for persons booked by
   The U.S. Marshals Service’s Office of the Federal Detention                         the U.S. Marshals Service, by offense at booking,
   Trustee (OFDT) provides information on the average                                  FY 2008–2010
   amount of time a defendant is detained from arrest to                                                                     Average length of stay in detention
   case adjudication or deportation from the U.S. According                            Offense at booking                      2008         2009          2010
   to the OFDT, the average amount of time in detention for                              All offensesa                          112 days    114 days       121 days
   defendants booked on federal charges increased from 112                             Violent                                  192         233            206
   days (3.7 months) in 2008 to 121 days (4.0 months) in 2010                          Property                                 120          95             96
   (table 7).                                                                          Drugs                                    197         238            226
                                                                                       Other                                    127         111            117
   In 2010, defendants booked on drugs, weapons, or violent
                                                                                       Weapons                                  197         222            218
   offenses spent on average more than 6 months in custody.                            Immigration                               72          82             86
   In comparison, defendants booked on immigration                                     Supervisionb                              82          72             79
   offenses, or violations of probation, parole, or pretrial release                   Material witness                          36          37             39
   conditions, or those held as material witnesses remained                            Not reported                              51          28             63
   in custody for an average of 3 months or fewer. The OFDT                               Number of persons booked            188,806      211,986       221,681
   also reported that about 27% of defendants booked by U.S.                           aIncludes persons for whom the offense at booking was not reported or was

   Marshals were ordered detained for 5 days or fewer in 2010                          unknown.
                                                                                       bIncludes parole, supervised release, and probation violations.
   (not shown in table). (For more information about the OFDT,
                                                                                       Sources: U.S. Marshals Service, Prisoner Tracking System, FY 2008–2010, and
   see http://www.justice.gov/ofdt/index.html.)                                        http://www.justice.gov/oftd/detention.htm.


PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                 8
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Federal defendants released on financial bond
received pretrial conditions less frequently than                                       Figure 4
                                                                                        Pretrial conditions imposed on released defendants for cases
defendants released through nonfinancial means
                                                                                        disposed in federal district courts, by type of pretrial release,
From 2008 to 2010, federal courts imposed conditions on                                 FY 2008–2010
64% of defendants released through financial bond (not                                  Type of pretrial release
shown in figure). Among the types of financial release,
40% of defendants with a surety bond release and 66% of                                      All releases                                                79%
defendants with a deposit bond release received pretrial
conditions (figure 4). In comparison, 80% of defendants
                                                                                        Unsecured bond                                                            93%
released on personal recognizance and 93% of defendants
released on unsecured bond received pretrial conditions.
                                                                                         Collateral bond                                                          92%

Percentages of pretrial release were lower for
defendants with serious or lengthy criminal histories                                          Personal                                                   80%
                                                                                           recognizance
When making a determination regarding the eligibility of
a defendant for pretrial release, federal law requires that                                Deposit bond                                         66%
the judicial officer (i.e., district court judge or magistrate)
consider the defendant’s criminal history, including record
                                                                                            Surety bond                         40%
of court appearances. The federal data show that the rate of
pretrial release declined with the severity of a defendant’s                                                0           20           40          60           80          100
criminal history. About half (51%) of defendants with no                                                              Percent of defendants with pretrial conditions
prior arrest history were released pretrial, compared to 34%
                                                                                        Source: Administrative Office of the U.S. Courts, Office Probation and Pretrial
of defendants with 2 to 4 prior arrests and 21% of defendants                           Services Automated Case Tracking System, 2008–2010.
with more than 10 prior arrests (table 8). The nature of a

Table 8
Defendants released pretrial for cases disposed in federal district courts, by criminal history and most serious offense charged,
FY 2008–2010
                                               All offenses                                   Percent released, by most serious offense charged
Criminal history                      Total        Percent released*        Violent      Property       Drug        Public-order       Weapons                  Immigration
   All defendants                    283,358              36%                 30%          71%           38%            65%              32%                       12%
Number of prior arrests
   None                               74,879             51%                  52%           75%                 38%           80%               51%                20%
   1                                  35,503             42                   44            77                  49            70                55                 12
   2 to 4                             64,034             34                   33            74                  46            61                46                 10
   5 to 10                            59,089             27                   21            64                  36            47                32                 10
   11 or more                         49,408             21                   11            46                  23            36                19                 11
Number of prior convictions
   None                              109,294             48%                  47%           75%                 42%           77%               51%                18%
   1                                  44,737             35                   36            76                  47            65                47                 10
   2 to 4                             69,785             28                   24            68                  38            51                34                 10
   5 to 10                            43,278             23                   15            52                  26            39                24                 10
   11 or more                         15,819             20                    9            42                  20            34                17                 11
Nature of prior convictions
   Misdemeanor conviction only        52,008             41%                  42%           79%                 54%           77%               53%                10%
   Felony conviction                 121,611             23                   12            55                  27            35                25                 10
       Nonviolent                     27,091             28                   21            61                  40            50                37                 12
       Drug                           44,225             23                   17            56                  28            40                31                  9
       Violent                        50,295             19                    9            47                  22            25                21                  9
Prior failure to appear
   None                              237,169             37%                  33%           73%                 40%           69%               37%                12%
   1                                  20,073             31                   23            61                  34            45                25                 13
   2 or more                          25,671             27                   16            54                  28            45                20                 12
Note: Detail may not sum to total due to missing information for defendant criminal history. Information on the number of prior felony arrests or convictions, nature of
prior convictions, and failure to appear history available for 99.8% of released defendants.
*Includes defendants who were never detained and those who were also detained for part of the pretrial period.
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.



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defendant’s criminal history also influenced the probability                            defendants with no prior convictions were released pretrial,
of pretrial release. Forty-one percent of defendants with                               while about two-fifths (39%) of defendants with five or more
prior misdemeanor convictions were released pretrial,                                   prior convictions were released prior to case adjudication
while 23% of defendants with prior felony convictions                                   (not shown in table).
were released prior to case disposition. In addition, pretrial
misconduct history correlated with the pretrial release
                                                                                        Nearly two-thirds of whites, less than half of blacks,
decision. Thirty-seven percent of defendants with no history
                                                                                        and a fifth of Hispanics secured pretrial release
of missed court appearances were released pretrial, while
27% of defendants with two or more prior failure-to-appear                              Among all racial and ethnic categories of defendants
events received a pretrial release.                                                     released pretrial, higher percentages of Asian/Pacific
                                                                                        Islander (66%) and white non-Hispanic (65%) defendants
Criminal history was also related to the stage in which a                               were released in the federal system from 2008 to 2010,
defendant was released pretrial. Nearly 30% of defendants                               compared to American Indian/Alaska Native (54%), black
with no prior convictions were released pretrial after a                                non-Hispanic (43%), or Hispanic (20%) defendants
period of detention. In comparison, 46% for defendants with                             (table 9). In general, Hispanic defendants had the lowest
more than 10 prior convictions were released pretrial after                             rates of pretrial release and were less likely to be released
being detained (not shown in table).                                                    than white defendants for all major federal offense
Similar to the federal system, many state courts have                                   categories. Black defendants were also less likely than white
established specific criteria to consider when setting release                          defendants to be released pretrial for all major federal
conditions, including the defendant’s criminal background.                              offense categories. The differences in pretrial release rates
Data examining felony defendants processed in the nation’s                              between black and white defendants were particularly large
75 most populous counties in 2006 illustrate how release                                for drug offenses, as white defendants (60%) were more than
rates vary according to a defendant’s criminal history.                                 one and a half times more likely to receive a pretrial release
Among these state courts, nearly three-quarters (74%) of                                than black defendants (36%).


Table 9
Defendants released pretrial for cases disposed in federal district courts, by demographic characteristics, citizenship status,
and most serious offense charged, FY 2008–2010
                                                 All offenses
Demographic characteristic                               Percent                              Percent released, by most serious offense charged
and citizenship status                       Total       releaseda         Violent        Property       Drug        Public-order        Weapons           Immigration
  All defendants                           283,358          36%              30%            71%           38%             65%              32%                12%
Sex
  Male                                     243,863         31%                26%           66%            34%              63%               30%               11%
  Female                                    39,121         65                 62            80             62               80                71                34
Age
  17 or younger                                339         50%                67%           74%            28%               ^                 ^                28%
  18–19                                      6,513         37                 43            57             43               66%               36%               17
  20–29                                     97,829         31                 32            62             37               62                27                11
  30–39                                     95,175         31                 23            65             35               59                30                11
  40 or older                               83,118         47                 31            80             42               71                44                15
Race/ethnicity
  Whiteb                                    60,427         65%                30%           82%            60%              73%               46%               41%
  Black/African Americanb                   54,346         43                 22            76             36               57                27                34
  Hispanic/Latino                          155,036         20                 23            48             26               49                24                11
  American Indian/Alaska Nativeb             4,049         54                 42            78             62               58                35                53
  Asian/Pacific Islanderb                    5,569         66                 42            78             59               76                41                52
Citizenship status
  U.S. citizen                             148,348         55%                31%           82%            47%              69%               34%               59%
  Legal alien                               15,100         43                 35            71             30               60                39                46
  Illegal alien                            116,321         10                  5            28              5               21                 5                 8
Note: Detail may not sum to total due to missing information for demographic characteristics and citizenship status. Race/ethnicity excludes defendants classified as
other race. Information on race and ethnicity was available for 99.0% of defendants, sex was available for 99.9%, age was available for 99.9%, and citizenship status was
available for 98.7%.
^Too few cases to provide a reliable rate.
aIncludes defendants who were never detained and those who were also detained for part of the pretrial period.
bExcludes persons of Hispanic or Latino origin.

Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                  10
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State-level data on pretrial release across racial and ethnic
                                                                       Figure 5
categories varied less than federal data. In the nation’s 75           Percent of defendants released pretrial for cases disposed in
most populous counties through the combined years from                 federal district courts, by age of defendant, FY 2008–2010
1990 through 2004, black defendants (62%) were released at
statistically similar percentages as white defendants (68%),            Age of defendant
while Hispanics had a lower likelihood of pretrial release
                                                                          40 or older                                                          47%
(55%) (not shown in table).

A greater percentage of females were released pretrial
than males                                                                    30–39                                      31%

Female defendants (65%) were released more frequently
than males (31%) in the federal courts from 2008 to 2010.                     20–29                                      31%
This remained consistent across all major federal offense
categories. At the state level, females (74%) were more likely
to be released than males (60%) in the nation’s most populous                 18–19                                              37%
counties from 1990 to 2004 (not shown in table).

Defendants ages 18 to 39 were less likely to be
                                                                       17 or younger                                                               50%
released than those age 17 or younger or age 40 or
older
                                                                                        0        10           20           30             40             50
The likelihood of pretrial release and defendant age had a                                               Percent released pretrial
curved relationship, as a greater percentage of younger and            Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial
older defendants were released pretrial than defendants in             Services Automated Case Tracking System, 2008–2010.
the middle age ranges. For example, 50% of defendants age
17 or younger were released pretrial, compared to 31% of               U.S. citizen defendants were more than 5 times more
defendants ages 20 to 39 (figure 5). Defendants age 40 or              likely than noncitizen illegal alien defendants to be
older were released at higher rates (47%) than defendants              released pretrial
ages 18 to 39.
                                                                       Overall, the federal courts released 10% of noncitizen
The curved pattern of pretrial release (i.e., declining for            defendants identified as illegal aliens. In comparison, 43%
defendants in the middle age ranges and then rising for                of legal aliens and 55% of U.S. citizens received a pretrial
those age 41 or older) did not hold for defendants charged             release prior to case disposition. Percentages of pretrial
with violent or immigration offenses. For the violent offense          release for illegal alien defendants exceeded 20% for some
category, defendants ages 17 or younger were two times                 offense categories, including property (28%) and public-
more likely to be released (67%), compared to defendants               order (21%) offenses. For the remaining offense categories,
age 40 or older (31%). The percentage of immigration                   however, less than 10% of defendants identified as illegal
defendants released pretrial was relatively low regardless of          aliens were released prior to case disposition.
the defendant’s age.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                    11
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Among all defendants, black and American Indian/                                          About three-quarters of all Hispanic defendants were
Alaska Native defendants had more serious criminal                                        non-U.S. citizen illegal aliens
histories than white defendants
                                                                                          A defendant’s citizenship status constitutes another
Factors courts were required by the 1984 Bail Reform Act to                               important factor that federal courts consider when making
consider for pretrial release, including criminal history and                             pretrial release decisions. Ninety percent of noncitizen illegal
citizenship status, varied across racial and ethnic categories                            alien defendants were detained pretrial (not shown in table).
For example, black and American Indian/Alaska Native                                      Almost three-quarters of Hispanic defendants in the federal
defendants generally had more extensive criminal histories                                courts were non-U.S. citizen illegal aliens, while a fifth of
than white defendants. During the combined period from                                    Hispanic defendants in federal courts had U.S. citizenship. In
2008 through 2010, 61% of black and 43% of American                                       comparison to Hispanic defendants, 95% or more of white,
Indian/Alaska Native defendants had five or more prior                                    American Indian/Alaska Native, and black defendants were
arrests, compared to 36% of whites (table 10). Moreover,                                  U.S. citizens. Asian/Pacific Islander defendants were the only
a higher percentage of black (46%) and American Indian/                                   other race category in which sizable minorities of defendants
Alaska Native (33%) defendants had a prior violent felony                                 were either noncitizen legal aliens (26%) or illegal aliens
conviction compared to white (27%) defendants.                                            (13%).

Hispanics and whites had relatively similar criminal
backgrounds. For instance, a similar percentage of whites
(43%) and Hispanics (41%) had no history of prior
convictions when they were brought into the federal courts.

Table 10
Race and ethnicity of defendants for cases disposed in federal district courts, by criminal history and citizenship status, FY
2008–2010
                                                                                Black/African                              American Indian/
Criminal history and citizenship status                        White*           Americana           Hispanic/Latino        Alaska Nativea         Asian/Pacific Islandera
Number of prior arrests
   None                                                         32%                 15%                   28%                     24%                       50%
   1                                                            13                   7                    14                      11                        17
   2 to 4                                                       20                  18                    26                      23                        16
   5 to 10                                                      18                  26                    21                      21                        10
   11 or more                                                   18                  35                    12                      22                         7
Number of prior convictions
   None                                                         43%                 24%                   41%                     32%                       66%
   1                                                            14                  12                    18                      15                        14
   2 to 4                                                       20                  27                    26                      24                        13
   5 to 10                                                      15                  25                    12                      18                         6
   11 or more                                                    7                  13                     3                      11                         2
Nature of prior convictionsb
   Misdemeanor conviction only                                  35%                 18%                   33%                     46%                       42%
   Felony conviction                                            65                  82                    67                      54                        58
       Nonviolent                                               16                   9                    19                      11                        18
       Drug                                                     22                  27                    27                      10                        17
       Violent                                                  27                  46                    22                      33                        23
Citizenship status
   U.S. citizen                                                 95%                 95%                   20%                     98%                       61%
   Legal alien                                                   3                   3                     7                       1                        26
   Illegal alien                                                 3                   3                    73                       1                        13
Number of defendants                                           60,427              54,346               155,036                  4,049                     5,569
Note: Excludes defendants classified as other race. Information on race and ethnicity was available for 99.0% of defendants, citizenship status was available for 98.7%,
and information on criminal history was available for 99.8% of defendants. Felony conviction percentages may not sum to total due to rounding.
aExcludes persons of Hispanic or Latino origin.
bIncludes only defendants with a prior conviction record.

Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL DISTRICT COURTS, 2008-2010 | NOVEMBER 2012                                                                                      12
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17% of federal defendants released prior to case                                       Fifty-six percent of defendants who committed misconduct
disposition committed technical violations                                             had their release revoked by the federal courts (not shown
                                                                                       in table). Twenty-one percent of released weapons and
Technical violations (such as violations of pretrial                                   more than 15% of violent (18%) and drug (16%) defendants
conditions, including drug test failure or failure to maintain                         had their release revoked, while less than 10% of released
electronic reporting requirements) were committed by 17%                               property (7%), public-order (6%), and immigration
of defendants released prior to case disposition from 2008                             defendants (4%) had a pretrial release revocation.
to 2010 (table 11). Defendants released on weapons (30%),
drug (25%), and violent (24%) offenses had the highest                                 In comparison, a third of released defendants in the nation’s
rates of technical violations, while immigration defendants                            75 most populous counties committed some form of pretrial
released pretrial had the lowest rates of violating their                              misconduct during 2006. Half of pretrial misconduct events
pretrial conditions (6%). The relatively low rate of technical                         involved bench warrants that were issued due to missed
violations for immigration defendants may be due to federal                            court appearances, while a similar percentage of defendants
courts typically not attaching pretrial conditions to these                            with pretrial misconduct were rearrested for new offenses
defendants when released prior to disposition.                                         committed during the pretrial release period (not shown in
                                                                                       table). In 2006, the percentage of defendants charged with
From 2008 to 2010, relatively few released defendants either                           pretrial misconduct was highest for drug defendants (37%)
failed to make court appearances (1%) or were rearrested                               and lowest for those released after being charged with a
for new offenses (4%). The percentage of defendants with                               violent offense (26%) (not shown in table).
missed court appearances did not exceed 2% across the
major offense types. Rearrest percentages ranged from 1%
for immigration defendants to 8% for weapons defendants.


Table 11
Behavior of defendants released pretrial for cases disposed in federal district courts, by offense type, FY 2008–2010
                                                                                         Percent of released defendants who had—
Most serious                    Number of released                                                     Technical violations of A rearrest for
offense charged                 defendants             At least one violation     Failed to appear bond conditions             new offense*           Release revoked
   All defendants                    101,622                    19%                       1%                   17%                   4%                    11%
Violent                                2,668                    26%                       1%                   24%                   4%                    18%
Property                              31,332                    15%                       1%                   13%                   3%                     7%
   Fraudulent                         25,378                    14                        1                    12                    3                      7
   Other                               5,954                    16                        1                    14                    3                      9
Drug                                  31,887                    28%                       2%                   25%                   5%                    16%
   Trafficking                        26,683                    29                        2                    26                    6                     17
   Other                               5,204                    24                        2                    23                    4                     12
Public-order                          15,058                    12%                       1%                   11%                   2%                     6%
   Regulatory                          2,818                    10                        1                     9                    2                      5
   Other                              12,240                    12                        1                    11                    2                      6
Weapons                                7,127                    33%                       2%                   30%                   8%                    21%
Immigration                           11,939                     7%                       1%                    6%                   1%                     4%
Note: Detail will not sum to total because a defendant could have more than one type of violation. Information on offense type available for 98.4% of released
defendants.
*Includes felony and misdemeanor offenses.
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




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Prior criminal activity correlated with higher rates of                                In addition, federal courts were more likely to revoke the
pretrial misconduct in the federal courts                                              releases of defendants with more serious criminal histories.
                                                                                       More than 20% of released defendants with more than 10
Released defendants with substantial criminal histories                                prior arrests or convictions received a release revocation,
engaged in pretrial misconduct more frequently than                                    compared to less than 10% of defendants with no history of
defendants with less serious criminal backgrounds. From                                prior arrests or convictions.
2008 to 2010, released defendants with more than 10 prior
arrests committed technical violations (29%) at a higher                               Prior criminal activity was also associated with higher rates
rate than defendants with two to four prior arrests (20%)                              of pretrial misconduct in state courts. For pretrial release
or defendants with no arrest history (9%) (table 12).                                  and misconduct in the nation’s 75 most populous counties
Defendants with more than 10 prior arrests also had a higher                           from 1990 to 2004, defendants with at least one prior felony
likelihood of being rearrested for new offenses (8%) than                              conviction (43%) had a higher rate of pretrial misconduct
defendants who had never been arrested prior to the current                            than defendants with misdemeanor convictions only (34%)
case (2%).                                                                             or no prior convictions (27%) (not shown in table). (See
                                                                                       Methodology.)

Table 12
Misconduct of defendants released pretrial for cases disposed in federal district courts, by criminal history, FY 2008–2010
                                                                                               Percent of released defendants who had—
                                            Number of released          At least one           Failed to        Technical violations  A rearrest for         Release
Criminal history                            defendants                  violation              appear           of bond conditions    new offense*           revoked
   All defendants                                101,622                    19%                  1%                    17%                 4%                  11%
Number of prior arrests
   None                                           38,009                   10%                   1%                      9%                    2%               5%
   1                                              14,902                   16                    2                      14                     3                8
   2 to 4                                         21,909                   22                    2                      20                     4               12
   5 to 10                                        16,044                   28                    2                      26                     6               17
   11 or more                                     10,547                   33                    2                      29                     8               21
Number of prior convictions
   None                                           52,790                   13%                   1%                     12%                    2%               6%
   1                                              15,842                   20                    2                      18                     4               11
   2 to 4                                         19,785                   25                    2                      23                     5               15
   5 to 10                                         9,771                   31                    2                      27                     7               19
   11 or more                                      3,223                   35                    2                      31                     9               24
Nature of prior convictions
   Misdemeanor conviction only                    21,214                   24%                   2%                     21%                    5%              14%
   Felony conviction                              27,407                   27                    2                      24                     6               16
       Nonviolent                                  7,672                   20                    2                      17                     5               12
       Drug                                       10,065                   28                    2                      25                     6               17
       Violent                                     9,670                   31                    2                      28                     8               19
Prior failure to appear
   None                                           88,262                   17%                   1%                     15%                    3%               9%
   1                                               6,204                   29                    2                      27                     6               17
   2 or more                                       6,945                   37                    2                      33                     8               22
Note: Detail may not sum to total because a defendant could have more than one type of violation. Not all violations resulted in revocation. Information on number of
prior felony arrests or convictions, nature of prior convictions, and failure to appear history available for 99.8% of released defendants.
*Includes felony and misdemeanor offenses.
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




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Black and American Indian/Alaska Native defendants                                        The percentage of males (20%) committing pretrial
were charged with pretrial misconduct more                                                misconduct was slightly higher than females (17%). As with
frequently than white and Hispanic defendants                                             pretrial release, there was a curved relationship between
                                                                                          age and pretrial misconduct, with younger and older
In the federal courts, 29% of released American Indian/                                   defendants charged with pretrial misconduct less frequently
Alaska Native and 27% of released black defendants had at                                 than defendants in the mid-age range. Seventeen percent
least one violation of their pretrial conditions, while 18% of                            of defendants age 17 or younger committed some form of
released white, 16% of released Asian/Pacific Islander, and                               pretrial misconduct, compared to 24% of defendants ages
14% of released Hispanic defendants engaged in some form                                  20 to 29 and 14% of defendants age 40 or older.
of pretrial misconduct from 2008 to 2010 (table 13). Black
and American Indian/Alaska Native defendants were also
charged with technical violations of their release conditions,
rearrested for new offenses, and had their pretrial release
statuses revoked at higher rates than white, Asian/Pacific
Islander, or Hispanic defendants.

Table 13
Misconduct of defendants released pretrial for cases disposed in federal district courts, by demographic characteristics and
citizenship status, FY 2008–2010
                                                                                                      Percent of released defendants who had—
Demographic characteristic                             Number of released      At least one        Failed to     Technical violations A rearrest for           Release
and citizenship status                                 defendants              violation           appear        of bond conditions new offensea               revoked
    All defendants                                          101,622                 19%               1%                 17%                 4%                  11%
Sex
    Male                                                      75,991                20%               2%                  18%                     4%             11%
    Female                                                    25,438                17                1                   15                      3               9
Age
    17 or younger                                                169                17%               2%                  15%                     2%             10%
    18–19                                                      2,387                22                1                   21                      4              14
    20–29                                                     30,630                24                2                   22                      5              14
    30–39                                                     29,039                20                2                   18                      4              11
    40 or older                                               39,202                14                1                   13                      2               7
Race/ethnicity
    Whiteb                                                    39,534                18%               1%                  16%                     3%             10%
    Black/African Americanb                                   23,570                27                2                   24                      6              15
    Hispanic/Latino                                           30,542                14                2                   13                      2               9
    American Indian/Alaska Nativeb                             2,172                29                2                   27                      5              22
    Asian/Pacific Islanderb                                    3,663                16                1                   14                      2               6
Citizenship status
    U.S. citizen                                              81,902                22%               1%                  20%                    4%              12%
    Legal alien                                                6,481                17                5                   14                     3               10
    Illegal alien                                             11,793                 2                1                    2                     --               1
Note: Detail may not sum to total because a defendant could have more than one type of violation. Excludes defendants classified as other race. Information on race
and ethnicity available for 98.5% of released defendants. Information on sex available for 99.8% of released defendants, age available for 99.8%, and citizenship status
available for 98.6%.
--Less than 0.5%
aIncludes felony and misdemeanor offenses.
bExcludes persons of Hispanic or Latino origin.

Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




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Defendants released on financial bond had fewer                                        bond (19%) or personal recognizance (19%) (table 14). This
technical violations than defendants released through                                  variation is due in part to the relatively lower rates in which
nonfinancial methods                                                                   courts attach pretrial conditions to those released through
                                                                                       financial bond. In comparison to technical violations, the
From 2008 to 2010, the percentage of released defendants                               differences between financial and nonfinancial release in
committing technical violations of their pretrial conditions                           terms of missed court appearances or rearrests for new
was lower for defendants released on deposit (14%) or surety                           offenses were fairly similar across the various types of
(7%) bond, compared to defendants released on unsecured                                pretrial release.

Table 14
Misconduct of defendants released pretrial for cases disposed in federal district courts, by type of pretrial release,
FY 2008–2010
                                                                                             Percent of released defendants who had—
                                        Number of released        At least one         Failed to     Technical violations       Rearrested for            Release
Type of release                         defendants                violation            appear        of bond conditions         new offense*              revoked
   All releases                             101,622                    19%                 1%                  17%                     4%                    11%
Financial release                            27,271                    15%                 2%                  13%                     3%                     8%
   Collateral bond                            6,577                    20                  2                   18                      5                     10
   Deposit bond                              12,359                    17                  2                   14                      3                     10
   Surety bond                                8,335                     8                  1                    7                      1                      5
Unsecured bond                               39,734                    21%                 2%                  19%                     4%                    11%
Personal recognizance                        32,292                    21%                 1%                  19%                     4%                    12%
Note: Detail may not sum to total because a defendant could have more than one type of violation. Excludes financial and nonfinancial release types for 2,325
defendants with a release classified as other or whose release types could not be determined.
*Includes felony and misdemeanor offenses.
Source: Administrative Office of the U.S. Courts, Office of Probation and Pretrial Services Automated Case Tracking System, 2008–2010.




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Methodology                                                            digit offense codes. For defendants charged with more than
                                                                       one offense on an indictment, the probation officer chooses
                                                                       as the major charged offense the one carrying the most
Federal Justice Statistics Program (FJSP)                              severe penalty or, in the case of two or more charges carrying
Data used for this report are from the Bureau of Justice               the same penalty, the one with the highest offense severity.
Statistics’ (BJS) Federal Justice Statistics Program (FJSP)            The offense severity level is determined by the AOUSC,
database. The FJSP is presently constructed from source                which ranks offenses according to the maximum sentence,
files provided by the U.S. Marshals Service, Executive Office          type of crime, and maximum fine amount. These four-digit
for U.S. Attorneys, Administrative Office of the U.S. Courts           codes are then aggregated into the primary offense charges
(AOUSC), United States Sentencing Commission, and                      used for this report.
Federal Bureau of Prisons. In addition to providing data
describing defendants in cases processed by the federal                Defining pretrial release within the PACTS data
judiciary, the AOUSC provides data describing defendants
processed by the federal pretrial services agencies and                Defendants are identified as released pretrial if they were
the federal probation and supervision service. For more                released anytime during the period between the initial
information about the methodology used for the FJSP, see               appearance hearing and case adjudication. At the initial
the BJS website.                                                       appearance, the defendant could either be released pretrial
                                                                       or detained for additional hearings. For those defendants not
                                                                       released at initial appearance, pretrial release could occur at
Office of Probation and Pretrial Services Automated                    subsequent events, including detention or bond hearings, or
Case Tracking System (PACTS)                                           the defendant could be held for the entire duration of a case.
For this report, all tables were created from data in the              For this report, the total pretrial release rate includes those
AOUSC’s Office of Probation and Pretrial Services Automated            defendants released at initial appearance, as well as those
Case Tracking System (PACTS), which were subsequently                  released after a period of detention.
processed for the FJSP. The PACTS data contain information
                                                                       In addition, the number of released defendants reported in the
on defendants interviewed, investigated, or supervised by
                                                                       BJS Federal Justice Statistics reports for fiscal years 2008 and
federal pretrial services. The information covers defendant
                                                                       2009 differ from those in this report due to recent adjustments
pretrial hearings, detentions, and releases from the time they
                                                                       with the PACTS data. For the 2008 and 2009 reports,
are interviewed through the disposition of their cases in
                                                                       defendants were identified as being released pretrial only if
federal district courts. The data describe defendants processed
                                                                       they were released during the initial appearance or detention
by federal pretrial service agencies within each of the 93
                                                                       hearing stages of a criminal case. Pretrial releases did not
federal judicial districts. Defendants who received pretrial
                                                                       cover defendants released after these events and showed
services through a local, nonfederal agency were excluded.
                                                                       release rates of 29% in fiscal year 2008 and 31% in fiscal year
Since the District of Columbia operates its pretrial services
                                                                       2009. The 2008 and 2009 PACTS files analyzed for this report
agency separate from the AOUSC, data describing defendants
                                                                       were adjusted so that defendants released anytime during
prosecuted in the U.S. district court for the District of Columbia
                                                                       the course of a case were coded as released pretrial. These
but processed by the D.C. pretrial services agency were
                                                                       adjustments resulted in pretrial release rates of 35% for both
excluded in this analysis.
                                                                       fiscal years 2008 and 2009. This method of identifying released
The data describe 283,358 defendants who were under                    defendants encompasses a broader range of releases and is
the jurisdiction of federal pretrial services from                     similar to those used in BJS’s Federal Justice Statistics reports
October 1, 2007, through September 30, 2010 (i.e., fiscal              that were published prior to 2008. For more information, see
years 2008 through 2010), and whose cases were filed by                Federal Justice Statistics, 2008 –Statistical Tables, NCJ 231822,
complaint, indictment, or information. Federal pretrial                BJS website, November 2008, and Federal Justice Statistics,
service agencies have jurisdiction over both released and              2009, NCJ 234184, BJS website, December 2011.
detained defendants from the time of arrest until their case is
                                                                       The forms of pretrial release and detention shown in the
disposed by the federal courts. A disposition occurs through
                                                                       report are reported as mutually exclusive categories. However,
a guilty plea or trial conviction, dismissal, or acquittal.
                                                                       a single defendant may have multiple forms of pretrial release
In these tables, the totals include records for defendants whose       and detention. For example, the court may have initially
offense or other attributes were missing or unknown. The               released a defendant on their own recognizance, and then
percentage distributions are based on nonmissing values, and           the defendant may have been brought back to court on a
missing values are reported in the table footnotes.                    technical violation with a financial bond set. The PACTS data
                                                                       only cover the initial and not subsequent release methods. In
Offenses in the PACTS are based on the most serious                    addition, pretrial release conditions, such as drug monitoring
charged offense, as determined by the probation officer                or treatment, are counted separately from the release types
responsible for interviewing the defendant. The probation              because federal courts typically attach such conditions
officer classifies the major offense charged into AOUSC four-          regardless of how a defendant was released.

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State level data on pretrial release                                   Types of pretrial release
In this report, the federal pretrial data were compared with           Defendants may be released without financial conditions
state-level data when possible. Information on pretrial release        according to the following methods:
and misconduct in state courts was obtained from reports
that used data from the State Court Processing Statistics              Personal recognizance—The defendant is released subject to
(SCPS) data collection program (most recent data are for               no financial or other conditions.
2006). SCPS provides data on the criminal justice processing
                                                                       Unsecured bond—No money is required to be posted before
of felony defendants in a sample of 40 of the nation’s 75 most
                                                                       release, but the defendant is liable for full bond amount if the
populous counties. The program prospectively tracks felony
                                                                       defendant fails to appear.
defendants from charging by the prosecutor during the month
of May of an even number year until disposition of their case          Conditional release—Any combination of restrictions
or for a maximum of 12 months. The SCPS project obtains                that are deemed necessary to guarantee the defendant’s
data on a variety of felony case processing characteristics in         appearance at trial or the safety of the community. These
addition to information about pretrial release and misconduct          conditions commonly place restrictions on the defendant’s
in state courts. Some of the core data elements collected in           movements, associations, or actions. They may also involve
SCPS included demographic characteristics, arrest offenses,            employment or treatment for medical, psychological,
criminal justice status at the time of arrest, prior arrests and       or substance abuse conditions. Pretrial conditions are
convictions, bond and pretrial release, court appearance               typically attached to defendants released without financial
record, rearrests while on pretrial release, adjudication              bond; however, courts can impose pretrial conditions on
outcomes including whether and how the defendant was                   defendants receiving a financial release.
convicted, and type and length of sentence. (For more
information, see Felony Defendants in Large Urban Counties,            Defendants may also be released on financial conditions.
2006, NCJ 228944, BJS website, May 2010, and Pretrial Release          Financial conditions include the following methods:
of Felony Defendants in State Courts, 1990-2004, NCJ 214994,
BJS website, November 2007.)                                           Deposit bond—The defendant is required to post a
                                                                       percentage of the total bond amount with the federal court,
                                                                       (usually 10%).
Key terms
                                                                       Surety bond—The defendant is released subject to guarantees
Initial appearance—The first time that a defendant charged             by a third person, usually a bail bondsman, that the full
with a federal offense appears before a federal judicial officer,      amount will be paid.
typically a magistrate judge. At the initial appearance stage,
the defendant can either be released pretrial or detained for          Collateral bond—Money or property equal to the full bond
additional hearings. For those defendants not released at              amount required to be posted by the defendant before
initial appearance, pretrial release can occur at subsequent           release.
events including detention or bond hearings, or the
defendant can be held for the duration of the entire case.             Financial conditions may occur in combination with
                                                                       nonfinancial conditions.
Federal court disposition—The act of terminating a case
proceeding through a guilty plea or trial conviction,                  Types of pretrial detention
dismissal, or acquittal. The defendant is no longer under
                                                                       According to the Bail Reform Act of 1984, preventive
supervision of the federal pretrial authority after disposition.
                                                                       detention is applicable in instances in which the defendant
Defendant (unit of analysis)—In the Federal Justice Statistics         was charged with—
Program, the unit of analysis is a combination of a person
                                                                       1) a crime of violence
and a case. For example, if the same person is involved in
three different criminal cases during the period specified in          2) an offense with a statutory maximum sentence of life
this report, then these cases are counted as three defendants,         imprisonment or death
or three cases disposed. Similarly, a single criminal case
involving four defendants is counted as four cases disposed.           3) a drug offense with a statutory maximum sentence of
                                                                       10 years or more imprisonment
Released defendant—Defendant is released pretrial prior to
case disposition. A release can occur anytime from initial             4) any felony offense if the defendant had been convicted on
appearance to case disposition. Under this definition,                 two or more occasions of an offense described above or a
defendants are considered released even if they had been               similar state-level offense.
initially detained by the court.




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A defendant on preventive detention is typically detained              Other property—Includes burglary, larceny, motor vehicle
during the entire period from initial appearance through               theft, arson, transportation of stolen property, and other
case adjudication. Other forms of pretrial detention include           property offenses, such as destruction of property and
detention because defendants could not meet the financial              trespassing.
bond set by the court or because they were unable to meet
specified pretrial conditions.                                         Drug—Includes offenses prohibiting the manufacture,
                                                                       import, export, distribution, or dispensing of a controlled
Pretrial misconduct—Instances in which a released                      substance (or counterfeit substance), or the possession of a
defendant violated their pretrial release conditions.                  controlled substance (or a counterfeit substance) with intent
                                                                       to manufacture, import, export, distribute, or dispense.
Types of pretrial misconduct
                                                                       Public-order—Includes regulatory and other types of
The following types of events are included under pretrial              offenses.
misconduct:
                                                                       Regulatory public-order—Includes violation of regulatory
Technical violation—Events in which the defendant failed               laws and regulation in agriculture, antitrust, labor law, food
to comply with their pretrial release conditions, including            and drug, motor carrier, and other regulatory offenses.
failing a drug test, failing to maintain or seek employment,
refusing to maintain contact with a pretrial supervision               Other public-order—Includes nonregulatory offenses
officer, or violating weapons prohibitions.                            concerning tax law violations (tax fraud), bribery, perjury,
                                                                       national defense, escape, racketeering and extortion,
Failure to appear—Occurs when a defendant misses a                     gambling, liquor, mailing or transporting of obscene
scheduled court appearance.                                            materials, traffic, migratory birds, conspiracy, aiding and
Rearrest for new offenses—Occurs when a defendant is                   abetting, jurisdictional offenses, and other public-order
rearrested for felony or misdemeanor offenses committed                offenses.
while out on pretrial release.                                         Weapons—Includes violations of any of the provision of 18
Definitions of major offense categories                                U.S.C. 922–923 concerning the manufacturing, importing,
                                                                       possessing, receiving, and licensing of firearms and
Violent—Includes murder, non-negligent or negligent                    ammunition.
manslaughter, aggravated or simple assault, robbery, rape or
sexual abuse, kidnapping, and threats against the President.           Immigration—Includes offenses involving illegal entrance
                                                                       into the United States, illegally reentering after being
Property—Includes fraudulent and other types of property               deported, willfully failing to deport when so ordered, or
offenses.                                                              bringing in or harboring any aliens not duly admitted by an
                                                                       immigration officer.
Fraudulent property—Includes embezzlement, fraud
(including tax fraud), forgery, and counterfeiting.




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